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              EXHIBIT
                A
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         Alllowed Claim               Alllowed                 Alllowed               Alllowed Claim
Claim #      Amount        Claim # Claim  Amount    Claim # Claim  Amount   Claim #       Amount
    1   $      32,000.00      45   $ 27,177.97         89   $ 30,312.50       133   $              -
    2   $     160,000.00      46   $ 1,064,449.97      90   $ 87,250.00       134   $       300,000.00
    3   $     100,000.00      47   $ 50,000.00         91   $         -       135   $        52,346.00
    4   $     100,000.00      48   $ 68,912.25         92   $         -       136   $       245,440.07
    5   $     100,000.00      49   $ 126,487.01        93   $ 376,135.21      137
    6   $     100,000.00      50   $ 387,375.07        94   $ 650,000.00      138   $              -
    7   $     100,000.00      51   $ 25,000.00         95   $ 200,000.00      139   $        49,090.00
    8   $      50,000.00      52   $ 592,832.00        96   $ 196,700.00      140   $        50,000.00
    9   $     407,291.67      53   $ 230,422.81        97   $ 90,000.00       141   $        50,000.00
   10   $      64,861.11      54   $     1,500.00      98   $ 32,850.00       142   $        50,000.00
   11   $     186,000.00      55   $     2,489.16      99   $ 200,000.00      143   $        32,403.87
   12   $            -        56   $          -       100   $ 250,000.00      144
   13   $     500,022.62      57   $ 27,293.16        101   $ 291,500.00      145   $              -
   14   $     356,090.51      58   $ 238,918.76       102   $ 275,000.00      146   $              -
   15   $     191,875.73      59   $ 13,750.00        103   $ 250,000.00      147   $              -
   16   $     250,000.00      60   $ 15,000.00        104   $         -       148   $              -
   17   $     162,915.67      61   $ 85,356.34        105   $ 100,000.00      149   $       191,862.00
   18   $      95,890.42      62   $ 132,569.44       106   $ 220,000.00      150   $     1,150,591.00
   19   $     100,000.00      63   $ 50,000.00        107   $ 165,000.00      151   $       186,500.00
   20   $      87,500.00      64   $ 48,052.09        108   $ 110,000.00      152   $              -
   21   $     386,440.00      65   $ 21,355.00        109   $ 100,000.00      153   $              -
   22   $      50,000.00      66   $ 171,500.00       110   $ 11,000.00       154   $              -
   23   $      23,839.71      67   $     1,585.74     111   $ 10,000.00       155   $        23,042.28
   24   $      18,414.71      68   $ 82,847.22        112   $ 400,000.00      156   $        20,288.34
   25   $      23,839.71      69   $ 672,071.60       113   $ 200,000.00      157   $        23,042.28
   26   $      40,000.00      70   $ 25,000.00        114   $         -       158   $        20,288.34
   27   $      23,839.70      71   $ 89,702.00        115   $         -       159   $        23,042.28
   28   $      71,687.11      72   $ 287,900.00       116   $         -       160   $        20,288.34
   29   $     150,000.00      73   $ 45,000.00        117   $         -       161   $        23,042.28
   30   $      17,330.00      74   $ 46,000.00        118   $         -       162   $        20,288.34
   31   $      58,000.00      75   $ 60,000.00        119   $ 275,000.00      163   $       126,047.98
   32   $     194,045.06      76   $ 128,000.00       120   $ 275,000.00      164   $        76,807.60
   33   $      23,839.71      77   $ 35,000.00        121   $ 275,000.00      165   $     2,359,404.00
   34   $      23,839.71      78   $          -       122   $ 154,000.00      166
   35   $      75,749.76      79   $ 180,000.00       123   $ 47,500.00       167   $     7,619,116.21
   36   $     162,361.11      80   $ 102,000.00       124   $ 261,503.00      168   $     2,000,000.00
   37   $      15,000.00      81   $ 734,314.72       125   $ 275,000.00      169   $              -
   38   $       5,537.31      82   $ 76,807.60        126   $ 150,000.00      170   $              -
   39   $      25,742.38      83   $ 226,767.00       127   $ 24,375.00       171   $              -
   40   $     843,644.62      84   $ 90,000.00        128   $         -       172
   41   $            -        85   $ 23,000.00        129   $         -       173   $        19,051.38
   42   $            -        86   $ 116,238.36       130   $ 153,153.92      174            $200,000
   43   $            -        87   $ 26,000.00        131   $         -      130-A $        275,000.00
   44   $      23,839.71      88   $ 38,074.00        132   $         -      Total  $ 32,917,398.15
